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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF OKLAHOMA

ROBERT WALKER AND                              )
BRANDY NEWSOM,                                 )
                                               )
                      Plaintiffs,              )
                                               )
v.                                             )   Case No. CIV-17-752-D
                                               )
USAA CASUALTY INSURANCE                        )
COMPANY,                                       )
                                               )
                      Defendant.               )


     ORDER EXTENDING REMAINING SCHEDULING ORDER DEADLINES

         Upon consideration, the parties’ Joint Motion to Extend Scheduling Order

Deadlines [Doc. No. 13] is hereby GRANTED.

         IT IS THEREFORE ORDERED that the remaining deadlines in the Scheduling

Order entered October 3, 2017 [Doc. No. 12] are amended as follows:

     Scheduling
       Order                         Description                        New Deadline
     Paragraph
     3            Plaintiff’s Expert Witness List & Expert Reports   05/09/2018
                  Defendant’s Expert Witness List & Expert
     3                                                               05/23/2018
                  Reports
     4            Plaintiff’s Final Witness List                     05/23/2018
     4            Defendant’s Final Witness List                     06/06/2018
     5            Plaintiff’s Final Exhibit List                     05/23/2018
                  Defendant’s Final Exhibit List and Defendant’s
     5                                                               06/06/2018
                  Objections to Plaintiff’s Final Exhibit List
                  Plaintiff’s Objections to Defendant’s Final
     5                                                               14 days thereafter
                  Exhibit List
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  6             Discovery deadline                                 07/05/2018
  7             Dispositive & Daubert Motions                      06/06/2018
  8             Trial Docket                                       To Be Set
  9             Designations of deposition testimony               07/16/2018
                Objections and counter designations of
  9                                                                07/23/2018
                deposition testimony
  9             Objections to counter-designations                 07/30/2018
  10            Motions in Limine                                  07/16/2018
  11            Requested Voir Dire                                07/16/2018
  12            Trial Briefs                                       07/16/2018
  13            Requested Jury Instructions                        07/16/2018
  14            Proposed findings and conclusions of law, if any   07/16/2018
                Any objections or responses to the trial
  15                                                               14 days thereafter
                submissions referenced in 10, 11, 12, 13 or 14
  16            Final Pretrial Report and proposed order           07/16/2018

       Unless otherwise ordered, all other provisions of the original Scheduling Order

[Doc. No. 12] remain in effect.

       IT IS SO ORDERED this 12th day of February, 2018.




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